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                    Opposition
                     Exhibit 1
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What People Believe about How Memory Works: A
Representative Survey of the U.S. Population
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     Abstract
     Incorrect beliefs about the properties of memory have broad implications: The media conflate normal forgetting and
     inadvertent memory distortion with intentional deceit, juries issue verdicts based on flawed intuitions about the accuracy
     and confidence of testimony, and students misunderstand the role of memory in learning. We conducted a large
     representative telephone survey of the U.S. population to assess common beliefs about the properties of memory.
     Substantial numbers of respondents agreed with propositions that conflict with expert consensus: Amnesia results in the
     inability to remember one’s own identity (83% of respondents agreed), unexpected objects generally grab attention
     (78%), memory works like a video camera (63%), memory can be enhanced through hypnosis (55%), memory is
     permanent (48%), and the testimony of a single confident eyewitness should be enough to convict a criminal defendant
     (37%). This discrepancy between popular belief and scientific consensus has implications from the classroom to the
     courtroom.

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Introduction                                                                          Although several studies have documented the pervasiveness of
                                                                                   mistaken beliefs about memory in the laboratory and classroom
   Do people think that memory works like a video camera? Do                       [5,6], only a few studies have examined the prevalence of mistaken
they believe that memories are immutable once they are formed?                     intuitions about memory in the broader population. In one study,
Answers to questions like these have important ramifications for                   students and jury pool members underestimated the influence of
psychologists and for the legal system. The ‘‘beyond the ken’’                     factors known to affect eyewitness accuracy, including the status of
standard [1] for admitting expert testimony in courts requires that                the person providing post-event suggestions, the age of the witness,
experts provide information that goes beyond what jurors already                   the delay between the original event and recall, and the impact of
know. If people generally understand how memory works, and                         providing warnings about potentially misleading suggestions [7].
common sense is consistent with expert consensus, then courtroom                   In another study, jury pool participants were also found to hold
testimony by psychologists about memory may be unnecessary [1].                    mistaken beliefs about memory, lending support to the idea that
However, if popular beliefs contradict what science knows to be                    members of the public do not concur with the expert consensus
true, then memory experts will have an important role in                           view of memory [8]. In contrast, a series of surveys using
educating juries, judges, lawyers, and the public about the                        convenience samples of the general public in Vancouver, Canada
properties of memory.                                                              shopping malls suggested relatively good agreement with expert
   People often dismiss behavioral science research as merely                      consensus about eyewitness accuracy [9].
recapitulating common sense, but many important psychological                         To our knowledge, only one large-scale study of the general
findings are counterintuitive. Some of the most striking discrep-                  public has examined beliefs about the properties of memory [1].
ancies between popular intuitions and established science come                     That study examined how well prospective jurors in the
from the study of memory. When people recall an emotionally                        Washington, DC jury pool understood the results of memory
charged event, they believe that their vivid memories are precise                  research about eyewitness testimony. Although this jury-pool
and accurate, largely because they rarely encounter evidence for                   survey focused mostly on beliefs about factors influencing
distortions in their own memories. The surprise people express                     eyewitness memory, it included some true/false items about the
when they first realize how easily they can miss changes in their                  nature, precision, and permanence of memory. For example, one
environment [2] or when they fail to notice when a person in a                     item stated, ‘‘The act of remembering a traumatic event is like a
gorilla suit unexpectedly appears in a video [3] reflects incorrect                video recording in that one can recall details as if they had been
underlying beliefs about the completeness of visual encoding, the                  imprinted or burned into one’s brain.’’ The survey recorded high
richness of visual representations, and the exhaustiveness of visual               rates of incorrect responses to these items, suggesting that many
awareness [4,5].                                                                   potential jurors misunderstand the properties of memory.


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                                                                                                                       Beliefs about How Memory Works


   Most of these surveys focused on eyewitness accuracy, not the               Table 1. Analyses of memory knowledge as a function of
properties of memory more broadly. And all previous studies were               demographic measures for public sample respondents.
limited in sample size, geography, and/or demographic represen-
tativeness. Here we report the results of the first large-scale,
nationally representative survey designed to measure intuitive                                                                            Average #
beliefs about the properties of memory. Our study is not a general                                                                 % of   correct
survey of misconceptions about all aspects of human behavior. Nor              Category [test statistic]               Subcategory Sample (out of 6)
is it an exhaustive survey of beliefs about memory. Although we                Age [t(1496) = 3.71, p,.001]            ,50 years      56.7     2.50
also asked about a variety of beliefs about the mind, here we report                                                   $50 years      43.3     2.21
on a subset of the questions that focused on beliefs about memory.
                                                                               Gender [t(1496) = 0.75, p = .453.]      Male           48.3     2.40
These items were selected because we expected that they might
reveal a divergence between expert consensus and commonly held                                                         Female         51.7     2.34

beliefs and because they hold both theoretical and practical                   Race [F(4,1493) = 3.88, p = .004]       Hispanic       11.0     2.22
significance.                                                                                                          Black          11.1     2.02
                                                                                                                       White          72.0     2.43
Methods                                                                                                                Asian          1.4      2.59
                                                                                                                       Other          4.5      2.58
Subjects
                                                                               Education [F(3,1483) = 27.22, p,.001]   Grad School    18.6     2.90
   We hired SurveyUSA to poll a nationally representative sample
of the United States population during a one-week period in June                                                       College Grad   17.5     2.50
2009 (the ‘‘public sample’’). Each of the 1838 respondents was                                                         Some College 40.9       2.34
assigned a weight based on the Census-derived U.S. population                                                          No College     22.9     1.88
demographics for sex, region, age, and race to produce a nominal,              Income [F(2,1429) = 25.80, p,.001]      ,$40K          36.3     2.06
demographically-representative sample size of 1500 people
                                                                                                                       $40K–$80K      36.7     2.44
(Table 1). Respondents also reported their education, income
                                                                                                                       .$80K          25.3     2.74
level, number of psychology courses ever taken, and number of
psychology books read in the past three years. This research was               Region [F(3,1494) = 2.28, p = .077]     Northeast      19.4     2.38
conducted with the approval of the IRB of the University of Illinois                                                   Midwest        22.7     2.36
(protocol #09714). All data were collected anonymously, and the                                                        South          35.7     2.27
study conformed to the guidelines and principles of the                                                                West           22.3     2.54
Declaration of Helsinki. The protocol was given a waiver of
                                                                               Psychology Books [F(3,149) = 5.38,      0              40.3     2.30
consent given that it is an anonymous survey.                                  p = .001]
                                                                                                                       1              21.4     2.18
Survey items
                                                                                                                       2              17.3     2.59
   The survey began with the following script: ‘‘This is
                                                                                                                       3+             21.1     2.53
SurveyUSA, conducting a short opinion survey that will help
scientists better understand how the brain works. We don’t need                Psychology Classes [F(3,149) =          0              37.3     2.21
                                                                               14.33, p,.001]
your name, and everything you tell us is confidential. To start,
press 1. [if no response, continue after 5 seconds] This is the                                                        1              18.6     2.08
opinion research company SurveyUSA calling to include you in                                                           2              16.2     2.52
scientific research about how the mind and brain work. There is                                                        3+             27.9     2.70
no cost, we do not need your name, and everything you tell us is
confidential. You’ll be on the phone for just a few minutes. To                The percentages for sex, race, and age (older/younger than 50) resulting from
                                                                               the weighting process are matched to U.S. Census values. After weighting the
start, press 1 on your touchtone phone, now.’’ After subjects                  nominal sample size is 1500 respondents. The percentages for education,
pressed 1, the script continued, ‘‘Great, let’s get started.’’ For each        income, number of psychology books read, and number of psychology classes
item, subjects were asked to respond ‘‘strongly agree,’’ ‘‘mostly              taken were measured but not used to determine sampling weights. Note that
agree,’’ ‘‘mostly disagree,’’ ‘‘strongly disagree,’’ or ‘‘don’t know’’         some subjects declined to answer the income question (4.4%) and the
                                                                               education question (0.07%).
using the keys on their phone.                                                 doi:10.1371/journal.pone.0022757.t001
   The survey consisted of 16 substantive statements followed by
demographic questions. The survey items were based on similar
items in a number of sources (e.g., [1,5,6,10,11]) and were chosen               Here we report results for six items related to beliefs about the
because they would measure what we anticipated would be                       properties of memory (see Table 2). Other survey items addressed
widespread misconceptions. Each statement was worded to be                    beliefs about other topics in psychology (e.g., the myth that people
inconsistent with the scientific consensus, so that the percentage of         use only 10% of their brain, the belief that you can feel someone
respondents agreeing would reflect the percentage of the public               staring at the back of your head, the idea that listening to Mozart
holding a mistaken belief.                                                    increases IQ, etc.), and the data from these are not reported here.
   Items were worded to be interpreted consistently by experts and            The memory items were interspersed among the other items.
laypeople, and were reviewed by SurveyUSA to ensure compre-
hensibility. The script was written at a 7th-grade reading level. We          Procedure
deliberately chose items for which we expected a discrepancy                     Respondents were selected using random-digit dialing of
between scientific consensus and popular belief, so our results               landline phone numbers within area codes that represented all
should not be taken to indicate the full scope of psychological               regions of the United States. Approximately 42.4% of the 79,014
understanding by the general public.                                          attempted calls were answered by a human being who responded


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 Table 2. Statements used and percentage of respondents giving each response, with the expert (N = 16) and the full
 Psychonomics sample (N = 73) percentages given for comparison.


                                                                                                            Strongly    Mostly     Mostly      Strongly     Don’t
 Statement                                                                                  Group           Agree       Agree      Disagree    Disagree     Know

 Amnesia: People suffering from amnesia typically cannot recall their own name or           Public          47.8        34.9       10.1        3.7          3.7
 identity.
                                                                                            Experts         0.0         0.0        12.5        87.5         0.0
                                                                                            Psychonomics    0.0         1.4        31.5        57.5         9.6
 Confident testimony: In my opinion, the testimony of one confident eyewitness              Public          11.2        25.9       35.1        24.7         3.1
 should be enough evidence to convict a defendant of a crime.
                                                                                            Experts         0.0         0.0        6.2         93.8         0.0
                                                                                            Psychonomics    0.0         0.0        11.0        87.7         1.4
 Video memory: Human memory works like a video camera, accurately recording                 Public          23.9        39.1       23.4        11.3         2.4
 the events we see and hear so that we can review and inspect them later.
                                                                                            Experts         0.0         0.0        6.2         93.8         0.0
                                                                                            Psychonomics    0.0         0.0        2.7         97.3         0.0
 Hypnosis: Hypnosis is useful in helping witnesses accurately recall details of crimes.     Public          15.0        39.6       26.9        10.4         8.1
                                                                                            Experts         0.0         0.0        18.8        68.8         12.5
                                                                                            Psychonomics    0.0         0.0        15.1        69.9         15.1
 Unexpected events: People generally notice when something unexpected enters                Public          27.2        50.3       18.3        2.1          2.1
 their field of view, even when they’re paying attention to something else.
                                                                                            Experts         0.0         18.8       31.2        50.0         0.0
                                                                                            Psychonomics    2.7         15.1       35.6        43.8         2.7
 Permanent memory: Once you have experienced an event and formed a memory                   Public          16.5        31.1       34.7        14.1         3.6
 of it, that memory does not change.
                                                                                            Experts         0.0         0.0        0.0         93.8         6.2
                                                                                            Psychonomics    0.0         0.0        6.8         91.8         1.4

 Each question has been given a short label (in bold) for ease of exposition in the text. Numbers corresponding to each item for the public sample represent the
 percentage of the weighted respondents giving each response.
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to at least one question. Approximately 5.5% of these calls resulted                      indicated whether they conduct research on memory (yes or no),
in a completed survey (thus, 2.3% of all dialed numbers yielded a                         and—if yes—for how long they have done so (0–5, 5–10, or .10
completed survey). SurveyUSA uses ‘‘robotic polling,’’ a technique                        years).
in which the recorded voice of a female announcer reads each                                 A total of 73 attendees (27 faculty, 9 postdocs, 26 graduate
statement and respondents press keys on their telephone to                                students, 3 undergraduates, and 1 research scientist) completed
answer. Robotic polling provides a more consistent subject                                surveys prior to the presentation. To ensure that our validation
experience than live-operator polling because each participant                            was based on a truly expert consensus, we restricted our
hears the statements in the same voice, regardless of their own                           expert sample to professors with more than 10 years of memory
race, income, ethnicity, region, etc. People may also be less                             research experience. (As shown in Table 2, though, the full sample
affected by social demands when responding to a recorded voice                            of 73 respondents produced the same response pattern as the
than a person. The relatively low response and completion rates                           experts.)
are fairly typical for robotic polling, but low response rates are not
indicative of inaccurate polls. Robotic polls with comparable                             Results and Discussion
response rates have been among the most accurate political polls
                                                                                              All summary statistics (e.g., percent agreement) and analyses
in recent election cycles (see www.fivethirtyeight.com for detailed
                                                                                          were conducted by weighting each respondent in the public
analyses of polling accuracy).
                                                                                          sample to account for over- or under-sampling of their
                                                                                          demographic group. Only respondents who completed all the
Expert validation                                                                         substantive questions as well as the demographic questions about
   We confirmed the expert consensus for our survey items by                              their sex, race, and age were included in the analyses because
polling attendees at a session on meta-memory at the 2010                                 those responses were needed to weight the respondent’s answers
meeting of the Psychonomic Society (the ‘‘expert sample’’). Before                        appropriately. Non-responses to the remaining demographic
the session started, we distributed 200 single-page surveys which                         questions were treated as missing data.
we then collected before our presentation. This survey included                               For simplicity of analysis and interpretation, we combined
just the six memory items and gave participants the same five                             ‘‘strongly agree’’ and ‘‘mostly agree responses’’ into an ‘‘agree’’
response options (except that ‘‘Don’t Know’’ was relabeled ‘‘Don’t                        category and did the same for ‘‘disagree’’ responses. Given that
Know/Unclear’’). Respondents also reported their academic                                 subjects could respond ‘‘don’t know’’ to any substantive question,
status (professor, postdoc, grad student, undergrad, other),                              agree or disagree responses presumably represent respondents’


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                                                                                                                           Beliefs about How Memory Works



 Table 3. Percentage of public sample agreeing with each statement, by level of education reported.


                                                                                                        College           Graduate
                                                                   No college         Some College      Graduate          School
 Statement                                                         (N = 342)          (N = 610)         (N = 261)         (N = 277)    Linear contrast

 Amnesia: People suffering from amnesia typically cannot           87.4               87.4              87.8              78.8         t(1431) = 2.8, p = .005
 recall their own name or identity.
 Confident testimony: In my opinion, the testimony of one          48.0               40.7              35.6              24.7         t(1439) = 6.7, p,.001
 confident eyewitness should be enough evidence to convict a
 defendant of a crime.
 Video memory: Human memory works like a video camera,             78.2               69.4              55.6              46.7         t(1450) = 9.1, p,.001
 accurately recording the events we see and hear so that we can
 review and inspect them later.
 Permanent memory: Once you have experienced an event              64.9               47.4              43.4              40.6         t(1431) = 6.0, p,.001
 and formed a memory of it, that memory does not change.
 Hypnosis: Hypnosis is useful in helping witnesses accurately      68.4               59.9              56.6              50.2         t(1365) = 4.4, p,.001
 recall details of crimes.
 Unexpected events: People generally notice when something         83.5               76.1              78.0              82.9         t(1453) = 0.0, p = .996
 unexpected enters their field of view, even when they’re paying
 attention to something else.

 The parentheses under each education category show the weighted number of respondents out of the 1490 who answered the education item (the equivalent of 10
 weighted participants did not answer this item).
 doi:10.1371/journal.pone.0022757.t003


true opinions. Public sample subjects averaged 0.23 ‘‘don’t know’’                    the expert consensus on four or more items, and only 1.5% of
responses out of six possible responses (Median = 0, SD = 0.63);                      subjects matched the experts on all six items (see Table 4). As for
only 5.3% of subjects gave more than one ‘‘don’t know’’ response,                     any survey item, it is possible to conceive of circumstances or
and 84.7% did not use this option at all. The average ‘‘don’t                         special situations in which an item might be true (for discussion,
know’’ response rate across items was 4.2% (SD = 2.2%, range                          see the caveats section at the end of the results). The uniformity of
= 2.1–8.1%). The overall means for each item reflect the                              the expert responses to our survey suggests that experts agree on
percentage of ‘‘agree’’ responses in the entire sample of 1500                        the most straightforward interpretation of each of our items item.
respondents, including those who said ‘‘don’t know.’’ The analyses                    And, the consistent differences between expert responses and those
and means for subgroups (e.g., different levels of education)                         of our survey respondents highlights the discrepancy between
exclude ‘‘don’t know’’ responses. Consequently, those percentages                     expert consensus and common beliefs. Below we provide the
represent the number of ‘‘agree’’ responses among those subjects                      results for each item separately, followed by a discussion of
who gave either an ‘‘agree’’ or ‘‘disagree’’ response (see Table 3).                  demographic trends in responding.
   For all but one of the six statements, education was negatively
correlated with agreement: Respondents with more education                            Amnesia: 82.7% of respondents agreed that ‘‘people
were less likely to ‘‘agree’’ (see Table 3). However, in all cases,                   suffering from amnesia typically cannot recall their own
substantial percentages of even the most educated respondents                         name or identity.’’ All 16 experts disagreed.
(graduate education) still agreed with the statement.                                    The form of amnesia that most typically results from brain
   Across all six items, an average of 60.4% of respondents agreed                    injury involves the loss of the ability to form and consolidate new
with statements that the expert sample almost uniformly rejected.                     long-term memories (e.g., [12]). Agreement with this statement
In other words, fewer than 40% of the responses agreed with the                       perhaps best exemplifies the pervasive influence of popular media
scientific consensus. More than half of respondents disagreed with                    portrayals of amnesia. Although a few movies come close to an


 Table 4. Percentage of subjects giving each number of correct responses (out of six possible correct answers).


                                                                                                           % of full Psychonomics
 # of ‘‘disagree’’ responses              % of public sample              % of expert sample (N = 16)      Sample (N = 73)             Binomial Probability

 0 (all incorrect)                        10.8                            0.0                              0.0                         1.6
 1                                        18.1                            0.0                              0.0                         9.4
 2                                        27.8                            0.0                              0.0                         23.4
 3                                        19.6                            0.0                              0.0                         31.2
 4                                        15.2                            6.2                              11.0                        23.4
 5                                        6.9                             25.0                             27.4                        9.4
 6 (all correct)                          1.5                             68.8                             61.6                        1.6

 Binomial probability gives the odds of getting that many correct if chance is 50% on any given item.
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accurate portrayal of amnesia as the loss of the ability to form and                 goals and expectations. Finally, the idea that memory retrieval is
consolidate new memories (e.g., Memento), most depict amnesia as                     akin to rewinding and replaying a tape contradicts the well-
something more like a much rarer fugue state in which someone                        established idea that memory retrieval is a constructive process
cannot remember who they are and suddenly take leave of their                        influenced by knowledge, beliefs, expectations, and schemas
home and work (e.g., The Bourne Identity, or the documentary                         [22,23].
Unknown White Male). The persistence of this factual misunder-                          This belief is perhaps the most relevant to the role of expert
standing despite more than half a century of research on the                         testimony on memory in legal cases. If jurors believe that memory
mechanisms of memory loss reveals a need for better popular                          works like a video camera, they will be more likely to trust
outreach to explain the deficits that can result from brain injury.                  witnesses who saw an event without realizing that different people
                                                                                     may encode the same event differently or that memory can be
Confident Testimony: 37.1% agreed that ‘‘in my opinion,                              distorted by subsequent events.
the testimony of one confident eyewitness should be
enough evidence to convict a defendant of a crime.’’ All                             Permanent Memory: 47.6% agreed that ‘‘once you have
16 experts disagreed.                                                                experienced an event and formed a memory of it, that
   The link between confidence and accuracy in eyewitness                            memory does not change.’’ 15 experts disagreed and 1
testimony is more complex than typically presented in psychology                     responded ‘‘Don’t Know/Unclear.’’
textbooks. You are more likely to be accurate when you are more                         Even those believing in a permanent memory trace (with failed
confident in your memory than when you are less confident [13].                      recall resulting from interference) acknowledge that the trace could
However, the link between confidence and accuracy across                             be strengthened or weakened based on later experiences [21].
individuals is more tenuous [14], in part because people differ in                   Consistent with the idea that people interpret this statement as
their baseline levels of expressed confidence [15]. Consequently,                    reflecting the permanence and immutability of memory, responses
most memory experts agree that an isolated expression of                             to this question were correlated with responses to the video memory
confidence is at best a limited predictor of memory accuracy                         item (r = .36); people who endorsed the idea of video memory were
[14,16,17]. When people are wrongly convicted of crimes and                          more likely to endorse the idea of permanent memory (see Table 5).
later exonerated by DNA testing, the primary evidence often came
in the form of a confident, but faulty, eyewitness identification                    Hypnosis: 55.4% agreed that ‘‘hypnosis is useful in
[18,19]. Lawyers and judges need to be aware that a sizeable                         helping witnesses accurately recall details of crimes.’’ 14
minority of a typical jury pool likely misunderstands the fallibility                experts disagreed and 2 responded ‘‘Don’t Know/
of eyewitness testimony and may rely too heavily on confident                        Unclear.’’
witness statements.                                                                     Although hypnosis can lead to more recall by encouraging people
                                                                                     to adopt a more lenient criterion [24], it does not lead to more
Video Memory: 63.0% agreed that ‘‘human memory                                       accurate recall (for overviews see [25,26]). The popular support for
works like a video camera, accurately recording the                                  hypnosis is somewhat surprising given the degree to which the
events we see and hear so that we can review and                                     courts already treat hypnosis-based recollections as untrustworthy.
                                                                                     A larger proportion of the public sample responded ‘‘don’t know’’ to
inspect them later.’’ All 16 experts disagreed.
                                                                                     this question than any of the other ones, perhaps reflecting a greater
   This statement incorporates several erroneous beliefs. First, the
                                                                                     degree of uncertainty about how hypnosis works.
idea that memory works like a video camera implies a level of
completeness and accessibility of our representations that is
inconsistent with known limits on visual perception and attention                    Unexpected Events: 77.5% agreed that ‘‘people generally
[2,20]. Second, video recording implies a passive process in which                   notice when something unexpected enters their field of
the visual world is imprinted into memory. But decades of research                   view, even when they’re paying attention to something
have documented the influences of stored information on encoding                     else.’’ 13 experts disagreed and 3 agreed.
and memory, arguing against the idea that memories are pure,                           Although a number of studies have revealed the failure to notice
bottom-up records [21,22]; what is encoded depends on top-down                       unexpected events when attention is focused on something else

 Table 5. Pearson correlations among survey items for the public sample.


                                                  Confident                                     Permanent
                           Amnesia                Testimony              Video Memory           Memory                 Hypnosis                Unexpected Events

 Amnesia                   1
 Confident Testimony       r = .046{ (N = 1403)   1
 Video Memory              r = .125 (N = 1403)    r = .213 (N = 1426)    1
 Permanent Memory          r = .157 (N = 1402)    r = .109 (N = 1407)    r = .364 (N = 1419)    1
 Hypnosis                  r = .128 (N = 1341)    r = .109 (N = 1345)    r = .180 (N = 1354)    r = .168 (N = 1356)    1
 Unexpected Events         r = .084 (N = 1419)    r = .060* (N = 1428)   r = .127 (N = 1442)    r = .155 (N = 1424)    r = .077** (N = 1357)   1

 ‘‘Don’t know’’ responses were treated as missing data. All correlations were significant at p,.001 unless otherwise noted:
 {p,.10.
 *p,.05.
 **p,.01.
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(e.g., [3,27,28]), there is little direct evidence for the frequency       [32,33], whereas experts now understand that even vivid
with which unexpected events are noticed in general, a fact that           memories can be distorted. We assume that the current consensus
might explain why three experts agreed. Note that there still is a         reflects the substantial accumulation of evidence over recent
large disparity between the expert sample (81% disagree) and the           decades rather than shifts in fashion.
public sample (77.5% agree) about what captures attention.                    Second, we assume that our public sample accurately reflects
Although on its surface, this item appears to focus on attention           the beliefs of the American public even though our response and
rather than memory, events can only be incorporated into explicit          compliance rates were relatively low (albeit typical for robotic
memory if they are noticed, and attention plays a central role in          polling). Any survey with a response rate lower than 100% risks
the encoding process. Agreement with the statement is consistent           sampling an unusual subset of the target population—those who
with evidence that undergraduates believe salient events will draw         willingly respond to phone surveys may differ systematically from
attention even when people are focused on other attention-                 the remainder of the population. This critique applies to all polling
demanding tasks [5], and it might partly explain why people often          methodologies because it is impossible to measure the beliefs of
are surprised by demonstrations of inattentional blindness [3].            people who refuse to respond. SurveyUSA’s record of reliable and
   If juries and lawyers believe that a suspect ‘‘should have’’            valid prediction in its political polling suggests that their methods
noticed some event, they will tend to see claims of ignorance as           accurately sample public opinion despite relatively low response
deliberate attempts to deceive (see [29,30,31] for examples).              rates. And the demographics of our sample were weighted to
Notably, unlike the other memory statements, agreement with this           match the United States census, so our survey is representative in
statement was not associated with increasing education (Table 3).          its final sampling (more so than almost any other experimental
                                                                           method, especially those that use convenience samples of
Demographic analyses                                                       undergraduates; see [34] for discussion of the representativeness
   To analyze which demographic measures are associated with               problem). More importantly, a number of survey firms have
mistaken beliefs, we computed a general memory knowledge index             examined the predictive validity of their polling as a function of
as [6 – (# of ‘‘agree’’ responses)]. Given that the items were not         response rate by taking extraordinary measures to increase the
chosen to encompass the full range of memory processes, the                response rate (e.g., by repeatedly calling or visiting the same home
memory knowledge index reflects only the prevalence of these               over a two-month period). The consistent result across those
particular mistaken beliefs. The items were not chosen to tap a            studies is that increasing the response rate does not increase the
single construct of memory knowledge, and they were not highly             reliability or predictive validity of survey results [35].
inter-correlated (see Table 5; Cronbach’s alpha = .49; mean inter-            Third, for almost any statement of fact, experts can imagine a
item r = .14).                                                             context that would make the statement true rather than false. For
   Unsurprisingly given the large size of the public sample, general       example, a single confident witness might provide enough
memory knowledge varied significantly among subgroups of                   evidence for conviction if the witness happened to know the
almost all the demographic variables, but all subgroups agreed,            accused before seeing the crime or if the witness had extensive
on average, with more than half of the statements (Table 1).               opportunities to observe the suspect. Constructing statements of
Increased education was associated with better knowledge, linear           fact that could not be interpreted differently under any set of
contrast: t(1483) = 8.9, p,.001. Respondents with post-college             assumptions would require so many hedges and qualifications that
education outperformed those with college degrees or some college          the item likely would not convey the intended meaning (or even be
experience, who in turn outperformed those with no college (all            intelligible) to laypeople. We worded our items so that the most
pairwise comparisons are significant by Scheffé test at p,.05).           straightforward interpretation would be false, and the uniformity
Because education is likely correlated with other individual               of our expert consensus suggests that the intended interpretation of
differences such as socioeconomic status and intelligence, this            our items was clear.
association does not provide causal evidence that education                   Finally, all of our items were worded as positive statements, and
increases understanding of how memory works.                               people might have felt some pressure to agree with some of the
   Specific background in psychology, as measured by the number            items, thereby inflating agreement rates. However, robotic polling
of psychology books read, was associated with better knowledge as          decreases the usual social demand to agree with the (nonexistent)
well, linear contrast: t(1494) = 3.3, p = .001. Those people who had       ‘‘person conducting the study.’’ Furthermore, the availability of
read 2 or 3+ psychology books outperformed those who had just              four levels of agreement, as well as a ‘‘don’t know’’ option, should
read 1 book, although those reading no books were not different            minimize a default tendency to agree. And, with negative wording,
from the other groups. Note that the survey did not constrain what         some of our items would be nonsensical or would not represent
counts as a psychology book, so this variable might not reflect            facts about the mind. Finally, given the high rates of agreement we
knowledge of scientific psychology. The number of psychology               find for many of our items, bias alone is unlikely to explain large
classes taken also had a significant linear effect: t(1494) = 6.2,         deviations from 0% agreement—the expected rate if people fully
p,.001. Those who took 3+ psychology courses outperformed                  understand the properties of memory.
those who took just 2 classes, and both of those groups
outperformed those who took 1 course or no courses. Again,                 Conclusion
these associations do not permit causal conclusions, but they are             Each of the beliefs documented in this survey runs counter to
consistent with the idea that learning about psychology improves           expert scientific consensus and reflects a fundamental misunder-
understanding of memory.                                                   standing of the way that memory works. In a sense, the results of
                                                                           this survey are disappointing: Many of the ideas we tested refer to
Caveats                                                                    scientific findings that have been established for decades. This
   Our results should be considered in light of several caveats.           discrepancy between science and popular beliefs confirms the
First, we treat the current expert consensus as accurate, while            danger of relying on intuition or common sense when evaluating
acknowledging that expert opinion can change over time. For                claims about psychology and the mind [30,36,37]. Accordingly,
example, in the 1970s, emotionally charged events or ‘‘flashbulb’’         scientists should more vigorously communicate established and
memories were thought to be accurately recorded and recalled               uncontroversial results (alongside new and surprising findings) in a


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                                                                                                                                        Beliefs about How Memory Works


way that leads to broader public understanding. Teachers should                              Acknowledgments
also be cognizant that many of their students come to the
                                                                                             We thank Kristen Pechtol for her assistance in developing and pilot-testing
classroom with basic misconceptions about psychology.
                                                                                             some of our survey items and Elizabeth Ackley, Leah Robison, and Robyn
   The prevalence of mistaken beliefs in the general public implies                          Schneiderman for assistance in pilot testing. Thanks to Aaron Benjamin,
that similar misunderstandings likely are common among jurors                                Daniel Benjamin, George Bizer, Neal Cohen, Jeremy Gray, Jamie
[8] and could well lead to flawed analyses of testimony that                                 Hamilton, Daniel Levin, Michelle Meyer, Neal Roese, Jennifer Shephard,
involves memory. At least for these basic properties of memory,                              Lisa Shin, and Annette Taylor for advice and assistance in developing our
commonsense intuitions are more likely to be wrong than right.                               survey items. Thanks to Neal Cohen and the reviewers for giving feedback
                                                                                             on earlier versions of the manuscript. Jay Leve and SurveyUSA conducted
Expert testimony on these issues could well help to overcome such
                                                                                             the survey and provided additional information to help in interpreting the
misinterpretations (although see [38]), and at a minimum, it could                           results.
make jurors aware of some of the limitations of memory. Future
research should examine how people acquire faulty intuitions
                                                                                             Author Contributions
about memory and why those intuitions persist in the face of
contradictory scientific evidence.                                                           Conceived and designed the experiments: DJS CFC. Performed the
                                                                                             experiments: DJS CFC. Analyzed the data: DJS. Wrote the paper: DJS
                                                                                             CFC. Edited the manuscript: DJS CFC.

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